    Case 19-01042-5-SWH                  Doc 31 Filed 06/12/19 Entered 06/12/19 08:00:38              Page 1 of 1
VAN−099 Order Continuing Confirmation Hearing − Rev. 03/12/2019

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                        Wilmington Division

IN RE:
Jennifer Lynn Hardee                                              CASE NO.: 19−01042−5−SWH
( debtor has no known aliases )
1109 Anchors Bend Way                                             DATE FILED: March 7, 2019
Wilmington, NC 28411
                                                                  CHAPTER: 13




                                    ORDER CONTINUING CONFIRMATION HEARING

IT IS ORDERED that the hearing on confirmation is continued.

DATE:          Tuesday, July 16, 2019
TIME:          10:30 AM
PLACE:         Alton Lennon Federal Building, 2 Princess Street, Wilmington, NC 28401

Objections to the amended plan are due 7 days prior to the continued hearing date indicated above.

The movant must transmit a copy of this order to all creditors, and a certificate of service must be filed
with the court within three (3) days evidencing service.



DATED: June 12, 2019

                                                                     Stephani W. Humrickhouse
                                                                     United States Bankruptcy Judge
